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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                               Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                  HON. AMIT P. MEHTA
 GOOGLE LLC,

                               Defendant.




                          NOTICE OF WITHDRAWAL OF COUNSEL

       Pursuant to Local Rule 83.6 (b), Jesús M. Alvarado-Rivera gives notice of his withdrawal

as counsel of record for Plaintiff United States of America.



 Dated: August 20, 2021                        Respectfully submitted,

                                               By:     /s/ Jesús M. Alvarado-Rivera
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